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                        [CAPTION CONTINUED ON NEXT PAGE]
               17

               18                                 UNITED STATES DISTRICT COURT

               19                              NORTHERN DISTRICT OF CALIFORNIA

               20                                      SAN FRANCISCO DIVISION

               21
                       IN RE OPENAI CHATGPT LITIGATION                 CASE NO. 3:23-cv-03223-AMO
               22
                       This Document Relates To:                       [PROPOSED] ORDER REGARDING
               23                                                      PARTIES’ JOINT DISCOVERY BRIEF
                       All Actions                                     (DKT. NO. 212)
               24
                                                                       Judge:      Hon. Robert M. Illman
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                                                                                [PROPOSED] ORDER REGARDING PARTIES’
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                              JOINT DISCOVERY BRIEF
                                                                                            CASE NO. 3:23-cv-03223-AMO
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                                                                [PROPOSED] ORDER REGARDING PARTIES’
                                                   2                          JOINT DISCOVERY BRIEF
                                                                            CASE NO. 3:23-cv-03223-AMO
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 1          The Parties’ Joint Discovery Brief at Dkt. No. 212 came before this Court for hearing on

 2   December 17, 2024. All parties were represented by counsel as stated on the record.

 3          Having considered the briefs, supporting documents, and arguments of the parties, and

 4   finding good cause therefore, IT IS HEREBY ORDERED that:

 5      1. All Plaintiffs shall conduct a vendor-led forensic collection of Electronically Stored

 6          Information (“ESI”) from each Plaintiffs’ custodial ESI data sources identified by Plaintiffs

 7          to Defendants on November 26, 2024, pursuant to Paragraph 6 of the ESI Order, Dkt. No.

 8          175. As set forth below, Plaintiffs will then run search terms against this collected data to

 9          find documents potentially responsive to OpenAI’s Requests for Production. To ensure

10          that the use of search terms to find potentially responsive documents functions as intended,

11          the collection of Plaintiffs’ custodial ESI data shall not be limited, whether by subject

12          matter, search terms, date filters, or otherwise, without disclosing the details of any such

13          limitations in writing to Defendants.

14      2. All Plaintiffs shall conduct attorney-supervised searches of the data collected pursuant to

15          paragraph 1 of this Order using search terms designated to reasonably target responsive

16          documents.

17      3. By Friday, December 20, 2024, all Plaintiffs will provide OpenAI with (a) the search

18          terms Plaintiffs propose using to identify documents responsive to OpenAI’s requests for

19          production to which Plaintiffs have agreed to respond, and (b) the hit counts for those

20          search terms resulting from the documents contained in the data sources identified by

21          Plaintiffs on November 26, 2024 pursuant to Paragraph 6 of the ESI Order;

22      4. By Friday, December 20, 2024, Plaintiffs Silverman, Kadrey, Tremblay, and Golden will

23          produce documents responsive to Defendants’ Requests for Production, including Requests

24          for Production Numbers 1–39, see Dkt. Nos. 212-1, 212-2, to which Plaintiffs have agreed

25          to respond, utilizing an ESI vendor and search terms as contemplated in paragraphs 1 and

26          2 of this Order;

27      5. By Monday, December 23, 2024, Plaintiffs Díaz, Greer, Hwang, Woodson, Snyder,

28          Coates, Lippman, and Klam will produce documents responsive to all of Defendants’
                                                                    [PROPOSED] ORDER REGARDING PARTIES’
                                                       1                          JOINT DISCOVERY BRIEF
                                                                                CASE NO. 3:23-cv-03223-AMO
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 1         Requests for Production, including Requests for Production Numbers 1–38, see Dkt. No.

 2         212-3, to which Plaintiffs have agreed to respond, utilizing an ESI vendor and search terms

 3         as contemplated in paragraphs 1 and 2 of this Order;

 4      6. By Friday, December 27, 2024, OpenAI will provide to Plaintiffs a proposal for any

 5         additional search terms that OpenAI contends are necessary to identify documents

 6         responsive to OpenAI’s Requests for Production;

 7      7. By January 7, 2025, all Plaintiffs shall (a) run OpenAI’s proposed search terms across all

 8         documents contained in the data sources identified by Plaintiffs on November 26, 2024

 9         pursuant to Paragraph 6 of the ESI Order; (b) provide to OpenAI the resulting hit counts

10         for those terms; and (c) inform OpenAI of what proposed search terms Plaintiffs agree to

11         use and what proposed search terms Plaintiffs refuse to use.

12      8. The parties shall thereafter meet and confer regarding any disputes that remain related to

13         the Joint Discovery Brief at Dkt. No. 212. To the extent any issues remain unresolved

14         following such conferrals, the Parties shall submit a joint discovery brief pursuant to

15         paragraph 4 of Judge Illman’s General Standing Order by January 14, 2025.

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17   IT IS SO ORDERED.

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19   DATED: ________________                    _____________________________________
                                                THE HONORABLE ROBERT M. ILLMAN
20                                                    United States Magistrate Judge
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                                                                  [PROPOSED] ORDER REGARDING PARTIES’
                                                     2                          JOINT DISCOVERY BRIEF
                                                                              CASE NO. 3:23-cv-03223-AMO
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                                                            [PROPOSED] ORDER REGARDING PARTIES’
                                               3                          JOINT DISCOVERY BRIEF
                                                                        CASE NO. 3:23-cv-03223-AMO
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 1                                    ATTESTATION CLAUSE

 2          I am the ECF User whose identification and password are being used to file the foregoing

 3   [Proposed] Order Regarding Parties’ Joint Discovery Brief. Pursuant to Local Rule 5-1(i)(3)

 4   regarding signatures, I, Elana Nightingale Dawson, attest that concurrence in the filing of this

 5   document has been obtained.

 6

 7   Dated: December 19, 2024                               /s/ Elana Nightingale Dawson

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                                                                  [PROPOSED] ORDER REGARDING PARTIES’
                                                     4                          JOINT DISCOVERY BRIEF
                                                                              CASE NO. 3:23-cv-03223-AMO
